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 6                      IN THE UNITED STATES DISTRICT COURT
 7                             FOR THE DISTRICT OF ARIZONA
 8
 9   Brian Swontek,                                 No. CV-16-03602-PHX-DJH
10                Plaintiff,                        ORDER
11   v.
12   Experian Information Solutions
     Incorporated, et al.,
13
                  Defendants.
14
15         The Court having reviewed the parties' Stipulation to Dismiss with Prejudice as to
16   Defendant Hughes Federal Credit Union (Doc. 131),
17         IT IS ORDERED approving the Stipulation (Doc. 131) and dismissing this action
18   as to Defendant Hughes Federal Credit Union only, with prejudice, each party to bear its
19   own attorneys’ fees and costs.
20         IT IS FURTHER ORDERED directing the Clerk of Court to terminate Defendant
21   Hughes Federal Credit Union only.
22         Dated this 8th day of June, 2018.
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                                                 Honorable Diane J. Humetewa
25                                               United States District Judge
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